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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

In re: : Chapter 11
ORION HEALTHCORP, INC'. : Case No. 18-71748 (AST)
Debtors. : (Jointly Administered)

HOWARD M. EHRENBERG IN HIS CAPACITY — :
AS LIQUIDATING TRUSTEE OF ORION : Adv. Pro. No. 8-20-8049 (AST)
HEALTHCORP, INC., ET AL., :

Plaintiff,

Vv.

ARVIND WALIA; NIKNIM MANAGEMENT
INC.,

Defendants.

DECLARATION OF JEFFREY P. NOLAN WITH REGARD TO
STATUS AND COMPLETION OF REMAINING EXPERT DISCOVERY

I, Jeffrey P. Nolan, declare:
1. I am an attorney at law duly licensed to practice before all courts in the State of

California and admitted pro hac vice in the Eastern District of New York for the purposes of the

| The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141); New York Network Management, LLC
(7168). The corporate headquarters and the mailing address for the Debtors listed above is 1715 Route 35 North,
Suite 303, Middletown, NJ 07748.

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prosecution of the above referenced adversary. I am an attorney with the law firm of Pachulski
Stang Ziehl & Jones LLP, attorneys of record for Plaintiff, Howard M. Ehrenberg in his capacity
as Liquidating Trustee of Orion Healthcorp, Inc., et al., for the estates of the above-captioned
debtors, and counsel of record in this adversary proceeding. The facts stated herein are of my
own personal knowledge, or from a review of the files and pleadings in this action which are
maintained in the ordinary course of business. If called upon as a witness to any facts set forth
herein, I could and would competently testify thereto.

2. I make this Declaration with respect to the status of the litigation and the filing of
a stipulation and order to complete remaining expert discovery.

3. The Parties were directed to file a stipulation advising the Court of the status of
settlement and agree to deadlines for the expeditious resolution of remaining expert discovery.
As of the date of this Declaration, the Parties have not reached a settlement of the above
referenced adversary. The Parties have met and conferred in good faith but were not able to
agree on the dates for conclusion of remaining expert discovery. For that reason and after
discussing with opposing counsel, Plaintiff submits a Declaration, a brief history, the issue, and a
proposed Order with the understanding Defendants may also submit a declaration or letter
addressing the issue.

4, Attached hereto as Exhibit A is a true and correct copy of the Stipulation and
Order Re Filing of First Amended Complaint; and Entering of Scheduling Order as entered by
the Court on May 26, 2021. [Dkt. No. 20] Under the terms of the Scheduling Order at
paragraphs 11 and 12, after issuance of initial expert reports, rebuttal reports were due 30 days

thereafter and all expert discovery completed 30 days later, or 60 days from the date of issuance

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of initial expert reports. Plaintiff's Proposed Order mirrors the language and timing of the

original Scheduling Order.

4, Fact discovery closed in this adversary on December 30, 2021. Plaintiff timely
designated experts and produced expert reports on January 10, 2022. Thereafter, the Parties
engaged in discussions and agreed to attend mediation. On January 28, 2022, the Parties filed a
Stipulation to Attend Mediation and Toll Remaining Deadlines. [Dkt No. 31]. (a courtesy copy

which is attached hereto as Exhibit B)

5. With the conclusion of mediation, Plaintiff desires to terminate the tolling
agreement and reinstate the deadlines under the previously issued Scheduling Order with respect
to concluding remaining expert discovery such that the matter can be moved forward to the pre-

trial/motion conference set for September 14, 2022.

6. A dispute has arisen with Defendants wherein the Defendants desired to extend
expert discovery for a time frame greater than outlined in the previously issued Scheduling
Order. While the Trustee was amenable to accommodating a slight delay of a week or two
weeks to accommodate vacations, holidays, etc., the issues raised by Defendants to extend
remaining deadlines are outside the scope of the original tolling agreement entered into by the
Parties, the Court issued Scheduling Order, and could result in the significant further delay of the

litigation.

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7. The Trustee respectfully requests that the Court enter the Plaintiff's [Proposed]
Order terminating the tolling agreement as originally entered into by the Parties such that
discovery can be concluded as previously contemplated and the matter set for motion conference

and trial.

I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed this 29" day of July, 2022 at Los Angeles, California.

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